
Reese, J.
delivered the opinion of the court.
The only question presented by the record, for the consideration of the court is, whether the parties to a suit having by bond, and not by rule of the court, submitted thé action, and the cause of dispute involved in it, to arbitration, such reference shall have the effect to discontinue the suit? And we think it lias such effect. If parties having a suit in court, by their own voluntary act, submit the action and cause of action to another tribunal, selected by themselves, and do not choose, by making their submission a rule of the court, to continue its jurisdiction over the cause, and to subject the arbitrators and their action to the control of the court, the jurisdiction of the court has been determined by their own act, and the cause will be discontinued. This seems to be so upon principle, and it is so also upon authority; see the case of Green vs. Patcher, 13 Wind. Rep. 294, and the cases there referred to. The judgment of the circuit court will therefore be reversed, in overruling the demurrer of the defendants to the replication of the plaintiff to the fourth plea; and this court proceeding to give such judgment as the circuit court ought to have given, sustain the demurrer, and give judgment for the defendant below, that he go hence and .¡recover his costs, &amp;c. *
Judgment reversed-.
